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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


EMILY PINON, GARY C. KLEIN,
KIM BROWN, JOSHUA FRANKUM,
DINEZ WEBSTER, and TODD
BRYAN, on behalf of themselves and
all others similarly situated,
                                               CASE NO: 1:18-CV-03984-MHC
                Plaintiffs,

       v.

MERCEDES-BENZ USA, LLC, and
DAIMLER AG,

                 Defendants.



[PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION
                 TO EXCEED PAGE LIMITS
        AND INCORPORATED MEMORANDUM OF LAW

      THIS MATTER having come before the Court on the Plaintiffs’ Unopposed

Motion to Exceed Page Limits And Incorporated Memorandum of Law, and the

Court having considered such unopposed motion and being otherwise advised in the

premises, finds the unopposed motion well taken and shall be GRANTED.

      IT IS THEREFORE ORDERED that Plaintiffs shall be permitted to exceed

the twenty-five (25) page limitation for briefs. Plaintiffs’ Motion For Preliminary


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Approval Of Proposed Class Action Settlement Agreement And Preliminary

Certification Of Nationwide Settlement Class And Incorporated Memorandum Of

Law may be up to sixty (60) pages in length.

      IT IS SO ORDERED.

                               ____________________________________

                               U.S. DISTRICT JUDGE MARK H. COHEN




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